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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


DEETTA BRIGHT,

   Plaintiff,
                                                    CASE NO:
-VS-

CREDIT ACCEPTANCE
CORPORATION,

   Defendant.
_______________________/


                                         COMPLAINT

       1.       Plaintiff alleges violations of the Telephone Consumer Protection Act, 47 U.S.C.

§227 et seq. (“TCPA”).

                                       INTRODUCTION

       2.       The TCPA was enacted to prevent companies like CREDIT ACCEPTANCE

CORPORATION, (hereinafter “CAC” or “Defendant”), from invading American citizens’

privacy and prevent abusive “robo-calls.”

       3.       “The TCPA is designed to protect individual consumers from receiving intrusive

and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, --US--, 132 S.Ct. 740, 745, 181

L.Ed.2d 881 (2012).

       4.       “No one can deny the legitimacy of the state’s goal: Preventing the phone (at

home or in one’s pocket) from frequently ringing with unwanted calls. Every call uses some of

the phone owner’s time and mental energy, both of which are precious. Most members of the




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public want to limit calls, especially cellphone calls, to family and acquaintances, and to get their

political information (not to mention their advertisements) [*6] in other ways.”             Patriotic

Veterans v. Zoeller, No. 16-2059, 2017 U.S. App. LEXIS 47, at *5-6 (7th Cir. Jan 3, 2017).

       5.      “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the *1256

scourge of modern civilization, they wake us up in the morning; they interrupt our dinner at

night; they force the sick and elderly out of bed; they hound us until we want to rip the telephone

out of the wall.’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give

telephone subscribers another option: telling the autodialers to simply stop calling.” Osorio v.

State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

       6.      According to the Federal Communications Commission (FCC), “Unwanted calls

are far and away the biggest consumer complaint to the FCC with over 200,000 complaints each

year – around 60 percent of all the complaints…Some private analyses estimate that U.S.

consumers received approximately 2.4 billion robocalls per month in 2016.” The FCC’s Push to

Combat Robocalls & Spoofing (website visited on Jan. 2, 2019), https://www.fcc.gov/about-

fcc/fcc-initiatives/fccs-push-combat-robocalls-spoofing.

                                 JURISDICTION AND VENUE


       7.      Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

       8.      Subject matter jurisdiction, federal question jurisdiction, for purposes of this

action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts

shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties

of the United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See




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Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B.,

746 F.3d 1242, 1249 (11th Cir. 2014).

         9.     The alleged violations described herein occurred in Genesee County, Michigan.

Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2), as it is the

judicial district in which a substantial part of the events or omissions giving rise to this action

occurred.

                                   FACTUAL ALLEGATIONS

         10.    Plaintiff is a natural person, and citizen of the State of Michigan, residing in Flint,

Genesee County, Michigan.

         11.    Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th Cir. 2014).

         12.    Defendant is a corporation with its principal place of business at 25505 West

Twelve Mile Road, Southfield, MI 48034, and conducts business in the State of Michigan.

         13.    Plaintiff is the regular user and carrier of the cellular telephone number at issue,

(313) *** - 3767, and was the called party and recipient of Defendant’s hereinafter described

calls.

         14.    Since the creation of the account, Plaintiff began receiving calls to her

aforementioned cellular telephone from Defendant seeking to recover an alleged debt related to

an auto loan.

         15.    Upon information and belief, some or all of the calls the Defendant made to

Plaintiff’s cellular telephone number were made using an “automatic telephone dialing system”

which has the capacity to store or produce telephone numbers to be called, without human




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intervention, using a random or sequential number generator (including but not limited to a

predictive dialer) or an artificial or prerecorded voice; and to dial such numbers as specified by

47 U.S.C § 227(a)(1) (hereinafter “autodialer calls”).

       16.     Plaintiff will testify that she knew it was an autodialer because of the vast number

of calls she received and because when she answered a call from the Defendant she would hear a

prerecorded message stating the call was from Credit Acceptance and to please hold the line for

the next available representative.

       17.     Furthermore, some or all of the calls at issue were placed by the Defendant using

a “prerecorded voice,” as specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

       18.     None of Defendant’s telephone calls placed to Plaintiff were for “emergency

purposes” as specified in 47 U.S.C. §227(b)(1)(A).

       19.     Defendant attempted to collect a debt from the Plaintiff by this campaign of

telephone calls.

       20.     In or about December of 2017, Plaintiff answered a call from the Defendant, met

with an automated message, eventually was connected to a live representative, and informed the

agent/representative of Defendant that she had unfortunately experienced a decrease in her

income, she was doing everything she could to keep up with her payments, she would call

Defendant when she was able to pay, and demanded that the Defendant cease placing calls to her

aforementioned cellular telephone number.

       21.     During the aforementioned phone conversation in or about December of 2017

with Defendant’s agent/representative, Plaintiff unequivocally revoked any express consent

Defendant may have had for placement of telephone calls to Plaintiff’s aforementioned cellular




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telephone number by the use of an automatic telephone dialing system or a pre-recorded or

artificial voice.

        22.     Each subsequent call the Defendant made to the Plaintiff’s aforementioned

cellular telephone number was done so without the “express consent” of the Plaintiff.

        23.     Each subsequent call the Defendant made to the Plaintiff’s aforementioned

cellular telephone number was knowing and/or willful.

        24.     Additionally, on or about June 12, 2018, due to the continued automated calls to

her cell phone, Plaintiff faxed a letter to Defendant requesting that Defendant no longer call her

cell phone or contact her directly in any way, including by phone or written correspondence.

Plaintiff went on to send this same letter via certified mail on June 18, 2018. See attached

Exhibit A.

        25.     Despite actual knowledge of their wrongdoing, the Defendant continued the

campaign of abuse, calling the Plaintiff despite the Plaintiff revoking any express consent the

Defendant may have had to call her aforementioned cellular telephone number.

        26.     On at least five (5) separate occasions, Plaintiff has demanded that Defendant

cease placing calls to her aforementioned cellular telephone number.

        27.     Each of the Plaintiff’s requests for the harassment to end was ignored.

        28.     From about December of 2017 through the filing of this Complaint, Defendant

has placed approximately four hundred (400) actionable calls to Plaintiff’s aforementioned

cellular telephone number.




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         29.   From each and every call placed without express consent by Defendant to

Plaintiff’s cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion upon

her right of seclusion.

         30.   From each and every call without express consent placed by Defendant to

Plaintiff’s cell phone, Plaintiff suffered the injury of the occupation of her cellular telephone line

and cellular phone by unwelcome calls, making the phone unavailable for legitimate callers or

outgoing calls while the phone was ringing from Defendant’s calls.

         31.   From each and every call placed without express consent by Defendant to

Plaintiff’s cell phone, Plaintiff suffered the injury of unnecessary expenditure of her time.

Plaintiff had to waste time to deal with missed call notifications and call logs that reflect the

unwanted calls. This also impaired the usefulness of these features of Plaintiff’s cellular phone,

which are designed to inform the user of important missed communications.

         32.   Each and every call placed without express consent by Defendant to Plaintiff’s

cell phone was an injury in the form of a nuisance and annoyance to the Plaintiff. For calls that

were answered, Plaintiff had to go through the unnecessary trouble of answering them. Even for

unanswered calls, Plaintiff had to deal with missed call notifications and call logs that reflected

the unwanted calls. This also impaired the usefulness of these features of Plaintiff’s cellular

phone, which are designed to inform the user of important missed communications.

         33.   Each and every call placed without express consent by Defendant to Plaintiff’s

cell phone resulted in the injury of unnecessary expenditure of Plaintiff’s cell phone’s battery

power.




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        34.     Each and every call placed without express consent by Defendant to Plaintiff’s

cell phone resulted in the injury of a trespass to Plaintiff’s chattel, namely her cellular phone and

her cellular phone services.

        35.     As a result of the calls described above, Plaintiff suffered an invasion of privacy.

Plaintiff was also affected in a personal and individualized way by stress, anxiety,

embarrassment, and aggravation.

        36.     Defendant’s corporate policy is structured so as to continue to call individuals like

the Plaintiff, despite these individuals explaining to Defendant they do not wish to be called.

        37.     Defendant’s corporate policy provided no means for Plaintiff to have Plaintiff’s

number removed from Defendant’s call list.

        38.     Defendant has numerous other federal lawsuits pending against them alleging

similar violations as stated in this Complaint.

        39.     Defendant has numerous complaints against it across the country asserting that its

automatic telephone dialing system continues to call despite being requested to stop.

        40.     Defendant has had numerous complaints against it from consumers across the

country asking to not be called; however, Defendant continues to call these individuals.

        41.     Defendant violated the TCPA with respect to the Plaintiff.

        42.     Defendant willfully and/or knowingly violated the TCPA with respect to the

Plaintiff.

                                             COUNT I
                                      (Violation of the TCPA)

        43.     Plaintiff realleges and incorporates paragraphs one (1) through forty-two (42)

above as if fully set forth herein.




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       44.     Defendant willfully violated the TCPA with respect to Plaintiff, specifically for

each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff notified

Defendant that Plaintiff did not wish to receive any telephone communication from Defendant,

and demanded for the calls to stop.

       45.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s cellular

telephone using an automatic telephone dialing system or prerecorded or artificial voice without

Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §

227(b)(1)(A)(iii).

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against CREDIT ACCEPTANCE CORPORATION for statutory damages, treble

damages, punitive damages, actual damages and any other such relief the court may deem just

and proper.


                                           Respectfully Submitted,

                                            /s/ Octavio Gomez _____
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